   

IN 'I`HE CIRCUIT COURT OF THE THIRTEENTH .]UDICIAL C[RCUI'I' FOR
HILLSBOROUGH COUNTY, FLORIDA

KEA_RNEY coNsTaUcrroN CoMPANY 1 ‘__ a g
LLC., 09 d (:.' s'; b d

names CaSeNO-= divisions .

Division:
VS.

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 1 of 13 Page|D 30

 

TRAVELERS CASUALTY & SURETY CO.
OF AMERICA.

Defendant.

 

 

 

COIVIPLAINT
Plaintiff K_EARN`EY CONSTRUCTION `COMPANY LLC. (herei_n “Kearney” or
“Plaintiff”), by and through undersigned counsel, bring this Complaint against TRAVELERS
CASUALTY & SURETY CO. OF AMERICA (herein "'Travelers” or “Defendant”), and states:
INTRODUCTION
I. Plaintiff bring this Complaint against Defendant, and allege claims for (1) fraudulent

inducement, (2) breach of good faith and faith dealing, and (3) tortious interference

JURISDICTION AND VENUE
2. This is an action which exceeds $lS,OOO in damages excluding interest, costs and
attorneys fees.
3. Venue is proper because a substantial amount of the actions described in this Compleint

took place in Hillsborough County, Florida.

PARTIES

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 2 of 13 Page|D 31

  

4. Plaintiff KEARNEY CONSTRUCTION COM`PANY LLC. is a limited liability company
organized and existing under the laws of the State of Florida doing business in Hillsborough
County7 Florida-

5 . Defendant TRAVELERS CASUALTY & SURETY CO. OF AMERICA is corporation
headquartered in Connecticut doing business throughout lilcrida, including I-lillsborough County.
NATURE OF THE CASE
6. This case involves the fraudulent inducement and tortious interference of TRAVELERS

CASUALTY & SU'RETY CO. OF A.MERICA regarding the Surety bonding cf KEARNEY
CONSTRUCTION COMPANY LLC..

7. _ TRAVELERS CASUALTY & SURETY CO. OF AMERICA (“Travelers") is a Property
and Casualty Insurance company which offers a wide variety of property and casualty insurance
and surety products and services to businesses, organizations and individuals in the United States
and in Selected international markets Travelers’ claims on its Website that its success is “built
upon our ability to provide innovative insurance and risk protection products and services in-
s'ynch with our customers' needs.”

8. Travelers had a long standing business relationship with Kearney Construction, Inc., and
Kearney Development Co., Inc.. The Kearney companies have been with Travelers for its
predecessor) since 1989.

9. On February 22, 2008, Plaintiff had obtained bonding for a single job for 40 Million
Dollars and an aggregate of 100 Million Dollars.

lO. On July 16, 2008, Plaintiffhad obtained bonding for a single job for 40 Mi]]ion Dollars

and an aggregate of 100 Million Dollars. Further, at that same time period, Pla.intiff had received

 

   

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 3 of 13 Page|D 32

150 Million bonding capacity letter from Bottrell Agency, Travelers’ authorized agent in Jackson
Mississippi.

ll. In August 2008, after 20 years of a long standing business relationship based on trust and
confldence, agents of Travelers fraudulently induced and/or unlawfully coerced Plaintiff into
entering into personal guarantee in order to continue the bonding relationship.

12. To induce Plaintiff into entering into personal guarantee, Defendant represented that they
would continue to do business with Plaintiff in good faith and alternatively that if Plaintiff would
not sign the guarantee, that Plaintiff would not get future bonds.

13_ Plaintiff reasonably relied on these representations and additionally relied on the course
of conduct between the parties over the past years when agreeing to these personal guarantees
14. Travelers induced PlaintiH into entering into contracts regarding continuing the bonding
relationship between Plaintiff and Travelers which had personal guarantees knowing what was
happening both in the overall surety industry, and in other industries that directly affected
Plaintiff.

15. Plaintiff reasonably relied on Travelers misrepresentations and non-disclosures and has
suffered substantial financial losses.

16.l At the time Travelers Was making these representations Travelers knew or should have
known that surety losses were historically a trailing indicator of the economic downturn.

l7. 'Travelers’ superior lenowledge, along with public knowledge of the downnirn in the
economy, should have reasonably and timely informed the surety industry insiders to see an
effect on its industry that would not have been apparent to non~insiders of the surety industry

(such as Piaintiii`).

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 4 of 13 Page|D 33

  
   

lS. During all relevant times, most Sureties (especially those with the experience and market
control) such as 'l`ravelers anticipated slow or no growth with reasonable expectations for
potential increases in material claim activity for 2009. History demonstrated claims activity
increased proportionater with corporate credit defaults and then was trailed 12-181 months later
by deterioration in surety’s results.

19. lndustry insiders such as Defendant would have also been aware that Standa.rd & Poor’s
2008 corporate debt defaults predicted the surety industry performance would deteriorate well
into 2010.

20. Because of the nature of the relationship between the parties, surety companies such as
Defendantare in fact, long term business partners with the companies they do business with,
such as Plaintiff.

21. During their course of business and due to the substantial business adviceJ Defendant
created a position of trust and confidence With Plaintift`s.

22. Even when there are changes in economic conditions causing sureties to be justifiably
more cautious, the fundamentals of the industry remain unchanged and parties with proven track
records and strong financials should naturally continue to receive ample Surety credit under
reasonable terms

23. Further, sureties should attempt to engage and give the benefit of the doubt to companies,
such as Plaiutiff, who were willing to engage in open and honest interaction with sureties
Kearney Construction Cornpa.ny LLC and its predecessors (a three generation business) have had
53 continuous years of successful construction experience Kearney Construction Company LLC

and its predecessors have always been properly §nanced, capably managed and well equipped

 

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 5 of 13 Page|D 34

  

Kearney Construction has never defaulted on any project of any kind, and to date has properly
manned all of the projects and its obligations

24. Sureties must honor all of their contractual obligations in any of the documents they
enter into, and to accept any oral and!or informal agreements that their agents provided within
the course and scope of their employment to parties such as Plaintiff that reasonably induced
them into continuing to do business with Travelers

25. Based upon Travelers position of trust and contidence, and based on numerous repetitive
representations (both express misrepresentations and implicit misrepresentations)_ that Travelers
would continue to do business with Plaintiff in a fair and reasonable manner for the reasonably
foreseeable future, Plaintiff (along with Bing Charles W. Keamey, Jr., Brian W. Seeger and Alan
G. Payne) entered into personal guarantees regarding Plaintiffs’ surety bonding on August 7,
2008.

26. Plaintiffs received no consideration for these personal guarantees

27. At the time that Travelers agents made these representations 'fravelers as a corporate
entity knew or should have known that these representations were false, and/or made With
reckless disregard to their truth or falsity. These representations were made with premeditation
28. Plaintiff reasonably relied on Travelers’ misrepresentations intentional or reckless
omissions and non~disclosures to Plaintiff’s detriment, by agreeing to personal guarantees to
preserve a long tenn relationship that Travelers knew (or should have knowu) it would be
discontinuing in the future.

29. Travelers also knew or should have known that that SO% of future construction work,
including the funding of work generated by the federal government’s various Stirnulus plans,
would not be available the Keamey companies without bonding

5

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 6 of 13 Page|D 35

  

30. Travelers actions were made knowingly and udllfully, with the intent to coerce Plaintiff
into either entering a bonding agreement requiring Plaintiff` to provide excessive and
unreasonable amounts of collateral to continue to do their business

31. Alternatively, Travelers has set Plaintiff` up for failure, intentionally or recklessly
inflicting substantial financial harm to PlaintiH from Travelers interference with Plaintif`f’s
businesses with the intent of inflicting intentional financial harm and then recouping any losses
from Plaintiff"s personal guarantee

32. Def`endant had gained substantial inside knowledge from Piairitiff`s during an exam by
Travelers’ three person team of financial experts from June 30 at l pm until luly l.

33. On or about Iuly 2009, Travelers notified Plaintiffs that, despite their past practices and
course of conduct, Travelers would only continue their bonding relationship if Plaintiffs put up
approximately Five Million Doilars ofcollateral. There was absolutely no notice regarding this
requirement or the amount of the new collateral requirement

34. Travelers has taken this position despite its actual and constructive knowledge regarding
the damage that this arbitrary and capricious decision will have on Pla.intiff’s long standing local
businesses

35. Travelers continues to inflict economic harm on l:’laintifiC by the intentional and/or
reckless actions of its agents

36. These acts include, but are not limited to, Travelers’ employee and agent, Mark S.
Man'no, sending a letter on or about 7/24/09 to all of Plaintiffs ongoing construction projects that

stated that Plaintiff`s were “experiencing financial difficulty” and were in default of the

agreement Plaintiffs had with Travelers_

 

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 7 of 13 Page|D 36

  
   

37. ln this same letter, Travelers “dernands that any and all payment now due, or become
due, to Keamey of any kind... be directed to Travelers.” This letter threatens that “any
disposition of contract funds not consistent with the legal and equitable rights of Travelers may
be considered to be a breach of your legal and equitable duties to the surety.”

38. Fl`ravelers" employee and agent, Marl<: S. Marino, told Plaintif`fs that this letter would not
be sent.

39. Despite Travelers’ employee and agent, Mark S. Marino’s, representations the letters
were overnighted on July 24 2009 to all of Plaintiff’ s clients While this letter instructed anyone
with questions to contact rI`ravelers1 employee and agent Mark S. Marino, this same agent of
Travelers entail response stated that M_r. Marion went on vacation and would not return until
August 7, 2009.

40. 'l`hese letters were intentionally and premeditatedly mailed to Plaintiff via regular mail,
and the project owners by priority or overnight mail to ensure that Plaintiff did not receive it
first Plaintift` received its copy of the letter on July 29, 2009. Defendant also overnighted
another copy of the letter on luly 28, 2009 that was received on .luiy 29, 2009.

41. There is no contractual basis for Travelers to require project owners to release funds to
Travelers instead of Plaintiff`s.

42. This letter has caused various existing and future clients to refuse to do business with
PlaintiH causing substantial irreparable economic injury to Plaintiff.

43. Plaintiffs are not properly in defaultl If Defendant Travelers would discuss in good faith
what was actually going on with Plaintiffs, the purported default is debt that is based on paper

liability (a debt that is based on an unfounded claim).

 

 

   

Case 8§09-cv-01850-JS|\/|-CPT Document 2 Filed 09/09/09 Page 8 of 13 Page|D 37

44. Alternatively, Travelers knew, or should have known, that its actions would substantially
impair Plaintiffs ability to perform under its obligations to various lenders customers and
vendors By pragmatically refusing to bond Plaintii`fs, Defendauts knew, or should have known,
that Plaintiffs would not be able to perform under various contractual agreements with lenders
customers and vendors

45. Travelers actions have caused P]aintifi`s to lose numerous contracts and suffer substantial
financial harm above and beyond the actual loss of certain contracts li’laintiffs1 damages include,
but are not limited, to all damages recognized under any legal theory. Plaintift"s damages
include, but are not limited to, all actual damages loss of equity in equipment lost future earning
capacity, tortuous inference with future business relationships costs to start company up again,
the business damage from losing key employees to competitors as well as defamation and
reputational damages Plainti$s damages claims based on the actions and inactions of
Defendant are in excess of a hundred million dollars

46. Travelers terminated their relationship with Plaintif`fs on April 30, 2009 and is currently

refusing Plaintiffs requests for a meeting or any kind.

FIRST CLAIM
(FRAUDULEN'I` IN`DUCEMENT)

47. Plaintiff` re-alleges and incorporates the allegations set forth above in paragraphs l - 46

(above) as if set forth herein in full.

48. Fl"he elements necessary to state a cause of action for fraud in the inducement are: a false

statement concerning a material fact; knowledge by the person making the statement that the

 

  

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 9 ot 13 Page|D 38

representation is false; intent by the person making the statement that the representation will
induce another to act upon it; and reliance on the representation to the injury of the other party.
49. Defendant andjor its authorized agent made numerous false statements concerning a
material fact, specifically that Travelers would continue to do business with Plaintiff in a fair and
reasonable manner for the reasonably foreseeable future

50. At the time that Defendant and/or its authorized agent made the misrepresentations to
Plaintiff, Defendant and/or its authorized agent knew that these statements were false or, in the
alternative, made the statements with reckless disregard as to their truth or falsity.

51. At the time that Defendant and/or its authorized agent made the misrepresentations to
Plaintiff, Defendant and/or its authorized agent knew that the representation was false due to
their Superior insider knowledge of the surety industry, and was in a better position to ascertain

the truth of these statements than Plaintifi`.

52. Defendant and/or its authorized agent made the statements to Plaintiff with the specific
intent of inducing Plaintiff to agree to personal guarantees when it knew that it would quit
issuing bonds to Plaintiff and cause other intentional economic harm.
53. Plaintiff accepted the statements of Defendant (made by its representatives) and thereby
justifiably, reasonably and detrimentally relied upon Defendant’s misrepresentations
54. Defendant’s misrepresentations were the direct and proximate cause of Plaintiff’S
injuries
WI-IEREFORE, PlaintiH` requests this court enter a judgment against Defendant, rescind or
invalidate the contractual guarantees, award all damages and restitution, and all other relief the
Court deems just.

SECOND CLAIM

9

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 10 ot 13 Page|D 39

 

(BREACH or soon FAITH AND FAIR DEALING)

55. Plaintiffre-alleges and incorporates the allegations set forth above in paragraphs l _ 46
(above) as if set forth herein in full.

56. ‘ This is an action against Travelers for breach of its duty of good faith and fair dealing, all
conditions precedent to filing this claim have occurred, been satisfied or waived

57. Travelers breached its duty of good faith and fair dealing by fraudulently inducing
Plaintiff into entering personal guarantees by misrepresenting to project owners and Plaintiff
clients Travelers rights in the July 2009 letter, and other acts designed to interfere with Plaintiff's

ability to continue doing business

58. Plaintiff has incurred immeasurable damages and expenses due to Travelers’ breach of its
duty of good faith and fair dealing.

WHEREFOR.E, Plaintiffs request this court enter a judgment against Defendant, rescind or
invalidate the contractual guarantees award all damages and restitution, and all other relief the
Court deems just.

THIRD CLAIM
(TORTIOUS INTERFERENCE)

59. Plaintiff re-alleges and incorporates the allegations set forth above in paragraphs l - 46
(above) as if set forth herein in full.

60. Travelers can be held liable for the actions and inactions of its agents through principles
of vicarious liability and/or alternatively, respondent superior.

61. All actions and inactions by Travelers’ agents were made within the scope of their

agency.

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Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 11 ot 13 Page|D 40

 

62. Travelers tortious interference with Plaintiff include, but is not limited to, Travelers
agent, Mark S. Marino, sending a letter on or about 7/24/09 to all of Plaintiffs ongoing
construction projects that stated that Plaintiffs were “experiencing financial difficulty”, that
stated Plaintiffs were in default of the agreement Plaintiffs had with Travelers, and demanding
“any and all payment now due, or become due, to Kearney or any kind... be directed to
Travelers.” This letter threatens that “any disposition of contract funds not consistent with the
legal and equitable rights ofTravelers may be considered to be a breach of your legal and
equitable duties to the surety.”

63. Travelers’ agent, Mark S. Marino, told Plaintiffs that this letter would not be sent and
then the letter was mailed out on July 24, 2009 to all of Plaintiffs’ clients This letters was
intentionally and maliciously mailed to Plaintiffs via regular mail, and the project owners by
priority or overnight mail to ensure that Plaintiffs'did not receive it first While this letter
instructed anyone with questions to contact Travelers’ agent, Mark S. Marino, this same agent of
Travelers immediately went on vacation and would not return until August 7, 2009. Travelers’
agent knew or should have known that he was going on vacation.

64. 'l`here is no contractual basis for Travelers to require project owners to release funds to
Travelers instead of Plalntiffs. Plaintiffs are not properly in default IfDefendant Travelers
would discuss in good faith what was actually going on with Plainti_ffs, they would discover that
their purported default is based on paper liability (a debt that is based on an unfounded claim).
65. This letter has caused various vendors and customers to refuse to do business with

Plaintiffs causing substantial economic injury to Plaintiffs.

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Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 12 of 13 Page|D 41

WHEREFOR_E, Plaintiffs request this court enter a judgment against Defendant, rescind or

invalidate the contractual guarantees, award all damages and restitution, and all other relief the

Court deems just.

PRAYER FOR RELIEF

 

WI-IEREFORE, Plaintiff pray the Court for the following relief:

1. That Judgment be entered against Defendant TRAVELER.S CASUALTY &
SURE'I`Y CO. OF AMER_`[CA;

2. That the Court invalidate or void the personal guarantees of Plaintii`fs to
Defendant.

3. rl'lia.t Plaintiff recover Judgment against Defendant TRAV`ELERS CASUALTY &
SURETY CO. OF ALCERICA in an arnount to be shown at trial;

4. That Defendant TRAVELERS CASUALTY & SURETY CO. OF AMERICA be
taxed the costs of this action; and

5. 'Ihat the Court order such other and further relief as it deems necessary.

DEMAND FOR JURY TRIAL

Plaintiff Demand a Jury Trial on all lssues so Triable.

DATED:ThiS g h` day ofaugust, 2009.
Q/Ml

JeB§e/Ray, Esq.

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12

 

Case 8:09-cv-01850-.]S|\/|-CPT Document 2 Filed 09/09/09 Page 13 of 13 Page|D 42

 

13

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